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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                    §
                                                  §
      Plaintiffs,                                 §
                                                  §
 v.                                               §    Civil Action No. 4:21-cv-01236-O
                                                  §
 JOSEPH R. BIDEN, JR., et al.,                    §
                                                  §
                                                  §
      Defendants.                                 §


                                              ORDER

         Before the Court is Plaintiffs’ Motion for Injunction (ECF No. 16), filed November 23,

2021.

         Rule 65 of the Federal Rules of Civil Procedure governs injunctions and restraining orders.

A court may issue an injunction only on notice to the adverse party. Fed. R. Civ. P. 65(a)(1).

Compliance with this rule is mandatory. Parker v. Ryan, 960 F.2d 543, 544 (5th Cir. 1992); see

also ADT, LLC v. Capital Connect, Inc., 145 F.Supp.3d 671, 683 (N.D. Tex. 2015) (“First, the

Fifth Circuit has disapproved of ruling on a preliminary injunction where the parties were not given

a ‘fair opportunity’ or did not receive sufficient notice before the court rendered its decision.”).

         Accordingly, it is hereby ORDERED that Plaintiffs shall notify Defendants of its request

for injunctive relief. It is further ORDERED that Plaintiffs shall file a pleading on the docket

describing compliance with this provision. Finally, it is ORDERED that Plaintiffs and Defendants

should then file a status report setting out proposed deadlines for any response and reply briefs.

         SO ORDERED this 24th day of November, 2021.


                                                       _____________________________________
                                                       Reed O’Connor
                                                  1    UNITED STATES DISTRICT JUDGE
